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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ----------------------------------------------------------------------------X
   ASA BACON, Individually, and on
   Behalf of All Others Similarly Situated                                         ANSWER AND
                                                                                   AFFIRMATIVE
                                                            Plaintiff(s),          DEFENSES
                                    -against-
                                                                                   Case    No.:     24-cv-5367
   780 FULTON REALTY CORP. and 780                                                 (GRB)(LGD)
   FULTON CHICKEN CORP.

                                                           Defendant.
   ----------------------------------------------------------------------------X

                 Defendants 780 Fulton Realty Corp. (“Fulton Realty”) and 780 Fulton Chicken

 Corp. (“Fulton Chicken”) (collectively, “Defendants”), by their attorneys, Quatela Chimeri, PLLC,

 in answer to the Complaint of Asa Bacon, individually, and on behalf of all others similarly situated

 (“Plaintiff”), hereby alleges as follows:

                                         NATURE OF THE CASE

                 1.       The allegations contained in Paragraph “l” of the Complaint contain legal

 conclusions to which no responsive pleading is required, and Defendants respectfully refer all

 questions of law to the Court. To the extent Paragraph “l” of the Complaint contains allegations

 of fact, they are denied.

                 2.       As to the allegations contained in Paragraphs “2” and “3” of the Complaint,

 acknowledge that Plaintiff purports to proceed as set forth therein, but otherwise deny any factual

 allegations, or any entitlement to relief.

                                     VENUE AND JURISDICTION

                 3.       The allegations contained in Paragraphs “4,” “5,” “6,” and “7” of the

 Complaint contain legal conclusions to which no responsive pleading is required, and Defendants
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 respectfully refer all questions of law to the Court. To the extent these paragraphs contains

 allegations of fact, they are denied.

                                                PARTIES

                4.      Deny knowledge or information sufficient to form a belief as to the truth of

 the allegations set forth in Paragraph “8” of the Complaint.

                5.      As to the allegations of Paragraphs “9” and “11,” admit that Fulton Realty

 is an inactive domestic corporation, but otherwise deny the allegations therein.

                6.      Admit the allegation of Paragraph “10,” “12,” and “13.”

                                           CLASS ACTION

                7.      As to the allegations contained in Paragraphs “14” and “15” of the

 Complaint, acknowledge that Plaintiff purports to proceed as set forth therein, but otherwise deny

 any factual allegations, or any entitlement to relief or approval to proceed as a class.

                                         STATUTORY SCHEME

                8.      The allegations contained in Paragraphs “16,” “17,” “18,” “19,” “20,” “21,”

 “22,” “23,” “24,” “25,” “26,” “27” and “28” of the Complaint contain legal conclusions to which

 no responsive pleading is required, and Defendants respectfully refer all questions of law to the

 Court. To the extent these paragraphs contain allegations of fact, they are denied.

                                    FACTUAL BACKGROUND

                9.      Deny knowledge or information sufficient to form a belief as to the truth of

 the allegations set forth in Paragraph “29.”




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                10.     To the extent Paragraphs “30” and “31” call for a legal conclusion

 concerning “public accommodations,” no responsive pleading is required, and Defendants

 respectfully refer all questions of law to the Court. Otherwise, the factual allegations are admitted.

                11.     Deny knowledge or information sufficient to form a belief as to the

 allegations of Paragraphs “32,” and “33.”

                12.     Deny the allegations of Paragraph “34.”

                13.     As to the allegations of Paragraph “35,” deny knowledge or information

 sufficient to form a belief as to the number or visits Plaintiff made to the subject property, and

 otherwise deny the allegations contained therein.

                14.     As to the allegations of Paragraph “36,” deny the existence of any “unlawful

 architectural barriers,” and otherwise deny the allegations.

                15.     Deny the allegations contained in Paragraphs “37,” “38,” “39,” 40” and

 “41.”

                16.     Deny knowledge or information sufficient to form a belief as to the

 allegations of Paragraph “42.”

                17.     Deny the allegations of Paragraphs “43,” “44,” and “45.”

                18.     As to the allegations of Paragraph “46,” deny knowledge or information

 sufficient to form a belief as to Plaintiff’s intention, but otherwise deny the factual allegations

 therein.

                                   FIRST CAUSE OF ACTION

                19.     Deny knowledge or information sufficient to form a belief as to the

 allegations of Paragraph “47.”


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                 20.    The allegations contained in Paragraph “48” contain legal conclusions to

 which no responsive pleading is required, and Defendants respectfully refer all questions of law to

 the Court.

                 21.    As to the allegations contained in Paragraph “49,” admit that Fulton Realty

 owns the property located at 780 Fulton Ave., Hempstead, NY, and that a Popeyes restaurant is

 located there, but otherwise deny the allegations contained therein.

                 22.    Deny the allegations of Paragraphs “50,” “51,” “52,” and “53.

                 23.    The    allegations contained in Paragraphs “54” through “76” of the

 Complaint contain legal conclusions to which no responsive pleading is required, and Defendants

 respectfully refer all questions of law to the Court. To the extent Paragraphs “54” through “76”

 of the Complaint contain allegations of fact, they are denied.

                                  SECOND CAUSE OF ACTION

                 24.    In response to the allegations of paragraph “77,” Defendants repeat and

 incorporate by reference the responses in Paragraphs “1” through “76” of this Answer as if fully

 set forth herein.

                 25.    Deny knowledge or information sufficient to form a belief as to the

 allegations of Paragraph “78.”

                 26.    The allegations of Paragraph “79” and “80,” contain legal conclusions to

 which no responsive pleading is required, and Defendants respectfully refer all questions of law to

 the Court. To the extent Paragraphs “79” and “80” of the Complaint contains allegations of fact,

 they are denied

                 27.    Deny the allegations of Paragraphs “81,” “82,” “83,” “84,” “85,” and “86.”


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                                   THIRD CAUSE OF ACTION

                  28.    In response to the allegations of Paragraph “87,” Defendants repeat and

 incorporate by reference the responses in Paragraphs “1,” through “86,” of this Answer as if fully

 set forth herein.

                  29.   Deny the allegations of Paragraphs “88,” “89,” “90” and “91.”

                                  FOURTH CAUSE OF ACTION

                  30.   In response to the allegations of Paragraph “92,” Defendants repeat and

 incorporate by reference the responses in Paragraphs “1,” through “91,” of this Answer as if fully

 set forth herein.

                  31.   Deny knowledge or information sufficient to form a belief as to the

 allegations of Paragraph “93.”

                  32.   Deny the allegations of Paragraphs “94, “95,” “96” and “97.”

                                   FIFTH CAUSE OF ACTION

                  33.   In response to the allegations of Paragraph “98,” Defendants repeat and

 incorporate by reference the responses in Paragraphs “1” through “97” of this Answer, as if fully

 set forth herein.

                  34.   Deny the allegations of Paragraph “99.”

                                      INJUNCTIVE RELIEF

                  35.   To the extent that Paragraphs “100,” “101,” “102” and “103” contain factual

 allegations, they are denied. Defendants also deny that Plaintiff is entitled to any of the relief set

 forth therein.




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                                       WHEREFORE CLAUSE

                 36.     Deny each remedy sought in sections (A) through (L) of the WHEREFORE

 clause of the Complaint, and further deny that any grounds exist for declaratory, injunctive, and/or

 equitable relief, or for monetary damages or attorneys’ fees, costs, and expenses, or any other relief

 against Defendants and for Plaintiff. Defendants further deny all captions, headings, titles,

 introductory Paragraphs and allegations in the Complaint not specifically admitted in this Answer.


                                    AFFIRMATIVE DEFENSES

                                       First Affirmative Defense

                 37.     Plaintiff’s causes of action are banned, in whole or in part, because Plaintiff

 has failed to state a claim upon which relief may be granted.

                                     Second Affirmative Defense

                 38.     Plaintiff’s causes of action are barred, in whole or in part, because Plaintiff

 lacks standing to bring these claims against Defendant.

                                      Third Affirmative Defense

                 39.     Plaintiff’s causes of action are barred, in whole or in part, because Plaintiff

 does not have a legitimate and/or bona fide intent to attempt to access the locations identified in

 the Complaint other than for the purpose of pursuing litigation and again therefore lacks standing

 to bring such claims.

                                     Fourth Affirmative Defense

                 40.     Plaintiff’s causes of action are barred, in whole or in part, because Plaintiff

 does not have a sufficient intent to return to the subject location, and Plaintiff does not have any

 real intent to return to the subject location.

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                                        Fifth Affirmative Defense

                 41.       Plaintiff’s causes of action are barred, in whole or in part, because Plaintiff

 has failed to specify or demonstrate actual harm allegedly suffered as a result of Defendant’s

 alleged violations of the ADA.

                                        Sixth Affirmative Defense

                 42.       Plaintiff’s causes of action are barred, in whole or in part, by the applicable

 statute of limitations.

                                      Seventh Affirmative Defense

                 43.       Plaintiff’s causes or action are barred, in whole or in part, because Plaintiff

 has brought this action in bad faith, without adequate factual bases or investigation, and without a

 prior request or demand to Defendants to resolve the alleged dispute, for the purpose of recovery

 of needless attorneys’ fees.

                                       Eighth Affirmative Defense

                 44.       Plaintiff’s causes of action are barred, in whole or in part, because Plaintiff

 has failed to mitigate his damages, including attorneys’ fees and costs by failing to provide pre-

 suit notice and an opportunity to cure.

                                       Ninth Affirmative Defense

                 45.       Plaintiff’s causes of action are barred, in whole or in part, because

 Defendants in good faith attempted to fully comply with all applicable provisions of the ADA.

                                       Tenth Affirmative Defense

                 46.       Plaintiff’s causes of action are barred, in whole or in part, because Plaintiff

 forfeited his right to relief under the doctrine of unclean hands.


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                                    Eleventh Affirmative Defense

                47.     Plaintiff’s causes of action are barred, in whole or in part, to the extent that

 the relief demanded, if granted, would require a significant and fundamental alteration to the

 manner in which the premises provides goods and services and is not required, as a matter of law.

                                    Twelfth Affirmative Defense

                48.     Plaintiff’s causes of action are barred, in whole or in part, to the extent that

 the requested modifications, if granted, are not readily achievable or are technically infeasible.

                                   Thirteenth Affirmative Defense

                49.     Plaintiff’s causes of action are barred, in whole or in part, to the extent that

 the modifications requested, if granted, would create an undue burden and hardship on the

 Defendants as defined by the ADA.

                                  Fourteenth Affirmative Defense

                50.     Plaintiff’s causes of action are barred, in whole or in part, to the extent that

 the requested modifications, if granted, would be rendered technically unfeasible by local codes

 and ordinances or adversely affect the safety of the public.

                                    Fifteenth Affirmative Defense

                51.     Plaintiff’s causes of action are barred, in whole or in part, because Plaintiff

 lacks standing to seek injunctive relief as he has failed to allege facts that give rise to an inference

 that he will suffer future discrimination by Defendant.

                                   Sixteenth Affirmative Defense

                52.     Plaintiff’s causes of action are barred, in whole or in part, by the equitable

 doctrines of laches, waiver and/or estoppel.


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                                  Seventeenth Affirmative Defense

                53.     Plaintiff’s causes of action are barred, in whole or in part, because the

 modifications Plaintiff seeks are not “alterations” within the meaning of the ADA and/or they do

 not trigger an “alteration” legal standard, because the modifications sought will be disproportionate

 in cost or cost in excess of 20% of the entire “alteration.”

                                  Eighteenth Affirmative Defense

                54.     Plaintiff’s causes of action are barred, in whole or in part, because the

 claimed violations are de minimus and non-actionable because they do not materially impair

 Plaintiff’s use of an area of the subject property for any intended purpose.

                                  Nineteenth Affirmative Defense

                55.     The requirements for class certification, such as numerosity, commonality,

 typicality, and adequacy of representation, have not been met.

                                   Twentieth Affirmative Defense

                56.     The proposed class is not ascertainable, sufficiently defined or identifiable

 to satisfy the requirements for class certification.

                                 Twenty-First Affirmative Defense

                57.     Plaintiff has failed to demonstrate suffering actual damages or that damages

 can be calculated on a class-wide basis.

                                Twenty-Second Affirmative Defense

                58.     There are no common questions of law or fact among the class members,

 making class certification inappropriate.




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                                    Twenty-Third Affirmative Defense.

                  59.        Plaintiff is an inadequate representative of the class due to conflicts of

  interest, lack of typicality, or other factors that undermine their ability to fairly and adequately

  represent the class.

                                   Twenty-Fourth Affirmative Defense

                  60.        Plaintiff’s causes of action are barred, in whole or in part, because

  Defendants did not intentionally impede or impair access to Plaintiff and at all times acted in a

  manner that was proper, reasonable, lawful and in the exercise of good faith.

                                     Twenty-Fifth Affirmative Defense

                  61.        Plaintiff’s Complaint is couched in broad and conclusory terms. Defendants

  cannot fully anticipate all defenses that may be applicable to this civil action. Accordingly,

  Defendants expressly reserves the right to amend his pleading to assert and set forth additional

  affirmative defenses based on disclosures and information obtained during discovery.

                                    CLAIM FOR ATTORNEYS’ FEES

                  62.        Pursuant to 28 U.S.C. § 1927 and 42 U.S.C. § 12205, and applicable law,

  Defendants are entitled to recover from Plaintiff its attorneys’ fees, costs and other disbursements

  incurred in this action.

                                             JURY DEMAND

                  63.        Pursuant to Fed. R. Civ. P. 38, Defendants hereby demand a jury trial.

                  WHEREFORE, it is respectfully requested that the Complaint be dismissed in its

  entirety with prejudice, together with such other and further relief as this Court may deem just,




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  proper and equitable, including an award of reasonable attorneys’ fees, costs and other

  disbursements incurred in this action.


  Dated:         Hauppauge, New York
                 October 9, 2024

                                                 Yours, etc.,

                                                 QUATELA CHIMERI, PLLC
                                                 Attorneys for Defendants 780 Fulton Realty Corp.
                                                 and 780 Fulton Chicken Corp.


                                           By:
                                                 Andrew K. Martingale, Esq.
                                                 888 Veterans Memorial Hwy, Ste. 530
                                                 Hauppauge, New York 11788
                                                 631.482.9700
                                                 akm@qclaw.com


  TO:            LAW OFFICES OF JAMES E. BAHAMONDE, P.C.
                 Attorneys for Plaintiff
                 Attn: James E. Bahamonde, Esq.
                 646.290.8258
                 james@civilrightsny.com




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